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                               United States District Court
                               District ofNew Hampshire                          MAY 20 AM 11 = 12
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                V.                                Civil Action No.
                                                  (To be provided by Clerk's Office)
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                     Defen(lant(s)
                                                   TO BE COMPLETED BY PLAINTIFF
                                                   (Check One Only)
                                                   (_) DEMAND FOR JURY TRIAL
                                                       NO JURY TRIAL DEMAND



       COMPLAINT UNDER THE CIVIL RIGHTS ACT, 42 U.S.C§1983


I.    Parties


      A. Please provide the following information for each plaintiff:

       1- NameBprAVxV>eAA
                  (Last)
                                         Chf\f)^pVV^r
                                                (Firk)              ^             (Initial)
      2. Place of Detention


      3. Institutional Address/\lj^                .^6^ Pn                       CoHcA^cf

      4. Are you incarcerated pursuant to a pretrial detention order or are you a sentenced inmate?

                     □ Pretrial Detention Order
                       Sentenced Inmate


      5. Date pretrial detention order was issued or sentence   imposed h\rird^ >i . 2/)/!


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           B. Please provide the full name,current title and address known for each defendant:

            1- Name
                             (Last)                           (First)                    (Initial)

           2. TitleC'piw\>n              r-

           3. Address \nF» T                      €>i-.

           Co^f^(n^fA              -H-

           (If the complaint is being made against more than one defendant, please attach additional sheets
           listing the above information and allegations as follows.)

     n.     Statement of Claim


           For each claim, please include the following information on attached sheets:

            1. State which of your federal constitutional or federal statutory rights have been violated.

           2. State which defendant(s) have violated that particular right for each allegation.

           3. State, with specificity,the facts and circumstances that gave rise to the violations or deprivations
           alleged.

           4. State the harm or damage that resulted from the alleged violation or deprivation.


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   (If more space is needea to explmn any allegation or to list additional facts, attach additional pages)


   m.      Relief


           You must request specific relief in your Complaint. State briefly exactly what you want the court
   to do for you(attach additional pages if necessary):                           A-W,A Wv ac^s nn.l
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   Date:^l(t>-n                                        ^                      _
                                                                        Signature of Plaintiff

   USDCNH-ll (Rev. 5/13)(previous editions obsolete)                                    Page 5
State ofNew Hampshire
                                     ]        ss
County of


                                            ,being first duly sworn,upon oath,presents that(s)he has read
and subscribed to the foregoing complaint, and states that the information contained therein is true and
correct.




Subscribed and sworn before me this                day of                         ,20_..



                                                                         Notary Public/Justice of the Peace



                                                   OR


       1 DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING INFORMATION IS TRUE
AND CORRECT.



  5- Wj) ■                                         u
              DATE                                                              SIGNATURE




                                       JURY TRIAL DEMAND


       I demand ajury trial for all claims for which a jury trial is allowed.

       YES(_J         NO qO
       (check one only)                                                n

Date: O'IL' H
                                                       Signature of Plaintiff




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